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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


    ALEKSEJ GUBAREV,
    XBT HOLDING S.A., and
    WEBZILLA, INC.                                                       Case No.
      Plaintiffs,
                                                                    0:17-cv-60426-UU
    v.

    BUZZFEED, INC. and
    BEN SMITH
      Defendants.


                   PLAINTIFFS’ MOTION IN LIMINE #4 TO
   PRECLUDE THE INTRODUCTION OF TESTIMONY OR EVIDENCE CONCERNING
      THE RELIABILITY OF CHRISTOPHER STEELE OR FUSION GPS OR ANY
    EFFORTS ALLEGEDLY UNDERTAKEN BY EITHER TO VERIFY ALLEGATIONS
                       CONTAINED IN THE DOSSIER

                                              Introduction
          From the start, Defendants have asserted – in support of their assertion of the Reporter’s
   Privilege – that they were not arguing that they had relied on any information provided to them
   by any confidential source. And, in conformity with that position, both Mr. Bensinger and Mr.
   Smth each refused to answer any questions about conversations that they may or may not have
   had with either Christopher Steele or Fusion GPS. Indeed, Mr. Bensinger – who wrote an entire
   book on the FIFA soccer scandal in which he extensively quotes Christopher Steele and provides
   details that could only have been obtained through extensive interviews with Mr. Steele –
   refused even to explain on what basis he deemed Mr. Steele to be reliable (other than to say he
   had dealt with him in the past). Crucially, the refusal to testify about any conversations that
   Defendants (or Mr. Bensinger) had with any sources means that Plaintiffs were denied the
   opportunity to discover whether Defendants had any reason to believe that Mr. Steele or Fusion
   had done anything to verify the allegations contained in the Dossier prior to Buzzfeed’s
   publication of the same. Having claimed the Reporter’s Privilege as a “shield,” Defendants
   cannot also utilize the “sword,” by presenting evidence or testimony from Mr. Steele or Fusion
   suggesting that they took steps toward verification of which Defendants may have had no

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   knowledge.1 Similarly, having refused to answer questions concerning prior dealings with Mr.
   Steele or Fusion, Defendants cannot now offer testimony concerning reasons they believed either
   of them to be reliable.
                                                Argument
          Federal Rule of Evidence 401 provides, in relevant part, that evidence is only “relevant if:
   (a) it has any tendency to make a fact more or less probable than it would be without the
   evidence; and (b) the fact is of consequence in determining the action.” Federal Rule of
   Evidence 403 provides that the “court may exclude relevant evidence if its probative value is
   substantially outweighed by a danger of one or more of the following: unfair prejudice,
   confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting
   cumulative evidence.” Bowe v. Pub. Storage, 2015 U.S. Dist. LEXIS 178180, at *12 (S.D. Fla.
   June 2, 2015).
          Defendants here have been consistent in stating that they should not be required to
   provide any information about their sources or conversations with their sources because none of
   their defenses relied on the identity of such sources, the reliability of such sources, or
   information obtained from such sources. Despite these assertions, however, Defendants have
   designated significant portions of Mr. Steele’s and Fusion GPS’ deposition testimonies in which
   each purport to discuss steps taken to verify allegations contained in the Dossier. Defendants
   cannot do this now given their earlier assertions that none of their defenses relied on anything
   they may have learned from their sources. It is time for Defendants to live up to these assertions.
          In his deposition, Mr. Bensinger refused to testify to any conversations he may have had
   with either Mr. Steele or Fusion. See, e.g., Bensinger Depo., p. 31 (“Q. In connection with your
   reporting on the FIFA scandal did you meet Christopher Steele? A. So when it comes to certain
   sources, among them Christopher Steele, I have a blanket promise of privilege. And if you ask
   me questions about those sources, including Christopher Steele or other sources that I may or
   may not have such a privilege with, I'm going to have to decline to answer.”); p. 67 (“Q. Did you
   ask Mr. Steele to put you in contact with David Kramer? A. As I previously stated, I'm not
   going to discuss confidential sources that may or may not be under a privilege situation with me.


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    Indeed, the available testimony suggests that neither Mr. Steele nor Fusion provided
   Defendants with any information about the Dossier or the allegations contained within the
   Dossier prior to Buzzfeed’s publication of the same.
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   That group could include Christopher Steele.”); p. 100 (“Q. Did you ever yourself reach out to
   Fusion GPS to try and get a copy of the dossier? A. I'm going to go back to my referring about
   confidential sources. There -- I have many confidential sources. They all exist under a blanket
   offer of privilege and protection because of the promises I made to them about confidential.
   When you ask me questions about Fusion GPS, I'm going to have to remind you of that
   promise.”).
          To the extent that Mr. Steele or Fusion claim to have taken any steps to verify the
   allegations contained in the Dossier, such claims are relevant only to the extent that Defendants
   were aware of those alleged efforts prior to publishing the defamatory materials. And, because
   Defendants have utilized the shield of the reporter’s privilege to avoid discussing any
   conversations that they may have had with Mr. Steele or Fusion prior to publishing the Dossier,
   they cannot now utilize the sword of testimony from these two sources in which Fusion and/or
   Mr. Steele testify about steps they may have allegedly taken. See, e.g., Oak Beach Inn, Corp. v.
   Babylon Beacon, Inc., 62 N.Y.2d 158, 476 N.Y.S.2d 269 (1984) (holding that defendant
   newspaper could not rely on material withheld as absolutely privileged under the Shield Law to
   establish lack of malice: “the statutory [exemption] ... from contempt cannot be fairly read to
   include general exemption from the sanctions authorized by CPLR 3126, most of which function
   to prevent a party who has refused to disclose evidence from affirmatively exploiting or
   benefiting from the unavailability of the proof during the pending civil action”) cert denied, 469
   U.S. 1158 (1985); Garcia v. Padilla, 2016 U.S. Dist. LEXIS 29398 (M.D. Fla. Mar. 8, 2016)
   (“Behind the sword and shield doctrine is the premise that a party may not use privileged
   documents to prove a claim or defense, then hide behind the shield of privilege to prevent the
   opposing party from effectively challenging such evidence.”); Collins v. Troy Publishing, Co.,
   Inc., 623 N.Y.S.2d 663, 665 (3d Dep't 1995) (defendants are precluded from “using as a sword
   the information which they are shielding from disclosure” by invoking the reporters privilege.).
   cf. FTC v. Williams, Scott & Assocs., Ltd. Liab. Co., 679 F. App'x 836, 838 (11th Cir. 2017)
   (“By invoking his Fifth Amendment right not to testify at his deposition, Lenyszyn decided that
   ‘the advantages of silence—avoiding incrimination in a criminal investigation’ outweighed ‘the
   potential advantages’ of attempting to refute the FTC's evidence against him.... Having made that
   choice, Lenyszyn could not then ‘convert the privilege from [a] shield ... into a sword’ by putting
   his version of the facts into written affidavits and avoiding cross-examination.”).

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                                              Conclusion
          For the reasons stated hereinabove, Defendants should be precluded from eliciting or
   offering testimony or evidence concerning: (a) the reliability of Mr. Steele or Fusion GPS, or (b)
   efforts undertaken by either Mr. Steele or Fusion GPS to verify the allegations contained in the
   Dossier.


   Dated: October 29, 2018

   Respectfully Submitted:

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